           Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 1 of 6



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________________________

TRUSTEES OF THE MASSACHUSETTS LABORERS’
HEALTH AND WELFARE FUND, MASSACHUSETTS
LABORERS’ PENSION FUND, MASSACHUSETTS
LABORERS’ ANNUITY FUND, NEW ENGLAND
LABORERS’ TRAINING TRUST FUND and
MASSACHUSETTS LABORERS’ LEGAL SERVICES FUND, C.A. No.
                  Plaintiffs,

                               vs.

AMEX, INC.,
                     Defendant.
____________________________________________________


                                     VERIFIED COMPLAINT

                                     NATURE OF ACTION

        1. This is an action brought pursuant to §§502 and 515 of the Employee Retirement

Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132(a)(3) and (d)(1) and

1145 and §301 of the Labor Management Relations Act (“LMRA”), as amended, 29 U.S.C.

§185, by employee benefit plans to enforce the obligations to make contributions and pay

interest due to the plans under the terms of a collective bargaining agreement and the plans.

                                        JURISDICTION

        2. The Court has exclusive jurisdiction of this action pursuant to §502(a), (e) and (f) of

ERISA, 29 U.S.C. §§1132(a), (e) and (f), and concurrent jurisdiction pursuant to §301 of the

LMRA, as amended, 29 U.S.C. §185, without respect to the amount in controversy or the

citizenship of the parties.
             Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 2 of 6



                                            PARTIES

        3.       The Massachusetts Laborers’ Health and Welfare Fund is an “employee welfare

benefit plan” within the meaning of §3(3) of ERISA, 29 U.S.C. §1002(3). It provides health,

dental and prescription benefits and life insurance, accident insurance, and accident and sickness

benefits to participants. The Fund is governed by its Trustees and is administered at 1400

District Avenue, Burlington, Massachusetts, (“the Fund office”) within this judicial district.

        4.       The Massachusetts Laborers’ Pension Fund is an “employee pension benefit plan”

within the meaning of §3(2)(A) of ERISA, 29 U.S.C. §1002(2)(A). It provides participants with

a defined pension benefit. The Fund is governed by its Trustees and is administered at 1400

District Avenue, Burlington, Massachusetts, within this judicial district.

        5.       The Massachusetts Laborers’ Annuity Fund is an “employee pension benefit

plan” within the meaning of §3(2)(A) of ERISA, 29 U.S.C. §1002(2)(A). This Fund is a defined

contribution fund. The Fund is governed by its Trustees and is administered at 1400 District

Avenue, Burlington, Massachusetts, within this judicial district.

        6.       The New England Laborers’ Training Trust Fund is an “employee welfare benefit

plan” within the meaning of §3(1) of ERISA, 29 U.S.C. §1002(1). This Fund trains apprentices

and journey workers in the construction industry. The Fund is governed by its Trustees and is

administered at 37 East Street, Hopkinton, Massachusetts, within this judicial district.

        7.       The Massachusetts Laborers’ Legal Services Fund is an “employee welfare

benefit plan” within the meaning of §3(1) of ERISA, 29 U.S.C. §1002(1). The Fund is governed

by its Trustees and is administered at 1400 District Avenue, Burlington, Massachusetts, within

this judicial district.




                                                 2
            Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 3 of 6



       8.      The Health and Welfare, Pension, Annuity, Training and Legal Services Funds

are multi-employer plans within the meaning of §3(37) of ERISA, 29 U.S.C. §1002(37). They

are hereinafter collectively referred to as “the Funds.” The Funds are third party beneficiaries of

the collective bargaining agreement between Defendant AMEX, Inc. (“AMEX”) and the

Massachusetts & Northern New England Laborers’ District Council (“Union”).

       9.      Defendant AMEX is a corporation with a principal place of business at 256

Marginal Street, East Boston, MA 02128 and is an employer engaged in commerce within the

meaning of §3(5) and (12) of ERISA, 29 U.S.C. §1002(5) and (12) and within the meaning of

§301 of the LMRA, 29 U.S.C. §185.

                            GENERAL ALLEGATIONS OF FACT

       10.     On or about June 18, 2018, AMEX signed a Short Form Agreement at the request

of Laborers’ Local Union 22 of the Laborers’ International Union of North America, so as to

provide its employees with the benefits under the collective bargaining agreement between the

Associated General Contractors of Massachusetts and the Building Trades’ Employers’

Association of Boston and Eastern Massachusetts, Inc., and the Union, by paying amounts at

rates set forth therein for pension, health, annuity and other benefits for each hour worked by its

employees on a project at the Ropewalk, Charlestown, MA (“the Project”), and submitting such

payments and report forms for each hour worked by covered employees by the 20th of the month

following the month in which the work was performed. A true and accurate copy of the Short

Form Agreement (“Agreement”) is attached hereto as Exhibit A.

       11.     The Fund office collects the contributions owed to all of the ERISA and non-

ERISA Funds and the dues owed to the Union.




                                                 3
            Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 4 of 6



       12.     Under the aforementioned Agreement, AMEX is obligated to submit to periodic

audits of their payroll related records.

       13.     In December 2019, the Funds audited AMEX’s records for the period March

through October 2019, and found that AMEX owes $71,257.37 in contributions for the audited

period. These contributions remain due and owing.

                             COUNT I - VIOLATION OF ERISA -
                              DELINQUENT CONTRIBUTIONS

       14.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 13 above.

       15.     The failure of AMEX to make payment of all contributions owed to Plaintiff

Funds on behalf of all covered employees violates §515 of ERISA, 29 U.S.C. §1145.

       16.     Absent an order from this Court, AMEX will continue to refuse to pay the monies

it owes to the Funds, as a result of which the Funds and their participants will be irreparably

damaged.

       17.     A copy of this Complaint is being served upon the Secretary of Labor and the

Secretary of the Treasury by certified mail as required by §502(h) of ERISA, 29 U.S.C.

§1132(h).

      COUNT II - VIOLATION OF COLLECTIVE BARGAINING AGREEMENT -
                   DELINQUENT CONTRIBUTIONS AND DUES

       18.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

through 17 above.

       19.     The Short Form Agreement is a contract within the meaning of §301 of the

LMRA, 29 U.S.C. §185.




                                                 4
            Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 5 of 6



       20.     The failure of AMEX to pay the $71,257.37 in contributions and dues, interest

thereon, and fees and costs on previous late payments violates the terms of the Agreement.

       WHEREFORE, Plaintiffs request this Court grant the following relief:

       a.      Order the attachment of the machinery, inventory, bank accounts and accounts

receivable of AMEX;

       b.      Enter a preliminary and permanent injunction enjoining AMEX from refusing or

failing to pay contributions and submit remittance reports due to the Funds;

       c       Enter judgment in favor of the Funds on Count I in the amount of all contributions

owed for March through October 2019, plus any additional amounts determined by the Court to

be owed the Funds or which may become due during the pendency of this action, together with

liquidated damages in an amount equal to 20 percent of the total of unpaid contributions or the

total interest owed, whichever is greater, reasonable attorneys’ fees, and costs, all pursuant to 29

U.S.C. §1132(g)(2);

       d       Enter judgment in favor of the Funds on Count II in the amount of $71,257.37 in

contributions and dues that AMEX owes for March through October 2019, and the

aforementioned interest and fees and costs, together with any additional amounts determined by

the Court to be owed the Funds or which may become due during the pendency of this action;

and

       e.      Such further and other relief as this Court may deem appropriate.

                                                      Respectfully submitted,

                                                      TRUSTEES OF THE MASSACHUSETTS
                                                      LABORERS’ HEALTH AND WELFARE
                                                      FUND, et al.,




                                                 5
Case 1:19-cv-12530-FDS Document 1 Filed 12/18/19 Page 6 of 6




       18
